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  6 CARMEN JOHN PERRI
  7
                          UNITED STATES DISTRICT COURT
  8
  9                      CENTRAL DISTRICT OF CALIFORNIA

 10
 11                                           Case No.: 2:21-cv-03044-GW-KS

 12    CARMEN JOHN PERRI, an                  Hon. George H. Wu
      individual,
 13
                                              NOTICE OF SETTLEMENT AND
 14        Plaintiff,                         REQUEST TO VACATE ALL
 15                                           CURRENTLY SET DATES
      v.
 16                                           Complaint Filed: April 7, 2021
      J & Y AUTO PARTS, INC., a
 17                                           Trial Date: None Set
      California corporation; YONG
 18   HWAN HWANG, an
      individual;
 19
      CHUN NAM HWANG, an
 20   individual; and DOES 1-10,
      inclusive,
 21
 22        Defendants.
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                                  NOTICE OF SETTLEMENT
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  1        The Plaintiff hereby notifies the Court that a global settlement has been
  2 reached in the above-captioned case and the Parties would like to avoid any
  3 additional expense, and to further the interests of judicial economy.
  4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
  5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
  6 parties, will be filed within 45 days.
  7
  8
  9 Dated: June 7, 2021                            MANNING LAW, APC
 10
 11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                   Joseph R. Manning, Jr., Esq.
 12                                                Attorneys for Plaintiff
 13                                                Carmen John Perri

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                                    NOTICE OF SETTLEMENT
